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    5RJHU&+VX6%1
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     UFKODZ#DWWQHW
    MRVHSK#OLXFRP
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   FRUSRUDWLRQ                                                               
                                                 '(&/$5$7,212)(5,&/8,1
                 3ODLQWLII                    68332572)3/$,17,))¶6
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          Y                                      5(3/<72'()(1'$17¶6
                                               23326,7,2172027,21)25
   'LJLWDO*DGJHWV//&D1HZ-HUVH\           6800$5<-8'*0(17
     OLPLWHGOLDELOLW\FRPSDQ\                    
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   OLPLWHGOLDELOLW\FRPSDQ\                
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                      &RXQWHUFODLPDQW      
                 Y                          
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   ,QWHUZRUNV8QOLPLWHG,QFD&DOLIRUQLD 
   FRUSRUDWLRQ                               
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                        &RXQWHUGHIHQGDQW  

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     ,DPDQDXWKRUL]HGUHSUHVHQWDWLYHRI3ODLQWLII,QWHUZRUNV8QOLPLWHG,QF
        ³3ODLQWLII´ DQGDPDXWKRUL]HGWRPDNHWKLVGHFODUDWLRQRQLWVEHKDOI,KDYH
       SHUVRQDONQRZOHGJHRIHDFKRIWKHIDFWVVHWIRUWKLQWKLV'HFODUDWLRQDQGFDQ
       WHVWLI\FRPSHWHQWO\WKHUHWRH[FHSWDVWRWKHPDWWHUVVWDWHGRQLQIRUPDWLRQDQG
       EHOLHIDQGDVWRVXFKPDWWHUV,EHOLHYHWKHPWREHWUXH
     ,DPDOVRDFXVWRGLDQRIUHFRUGVRIWKH3ODLQWLIIDQGDPDXWKRUL]HGWR
       DXWKHQWLFDWHWKHH[KLELW V VWDWHGEHORZ7KLVH[KLELW V FRQWDLQVLQIRUPDWLRQ
       FRPSLOHGSUHSDUHGRUUHFHLYHGE\TXDOLILHGSHUVRQQHORIWKH3ODLQWLIILQWKH
       FRXUVHRIUHJXODUO\FRQGXFWHGEXVLQHVVDFWLYLWLHVZHUHPDGHDWRUQHDUWKHWLPH
      RIWKHRFFXUUHQFHRIWKHPDWWHUVVHWIRUWKE\DSHUVRQZLWKNQRZOHGJHRIWKRVH
      PDWWHUVSXUVXDQWWRDEXVLQHVVGXW\WRNHHSDFFXUDWHDQGFRPSOHWHUHFRUGVDUH
      PDGHDQGNHSWLQWKHFRXUVHRIWKHUHJXODUO\FRQGXFWHGEXVLQHVVDFWLYLWLHVDQG
      ZHUHPDGHDQGNHSWE\WKHUHJXODUO\FRQGXFWHGEXVLQHVVDFWLYLWLHVDVDUHJXODU
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  ,QRUDERXW'HFHPEHUWKH3ODLQWLIIUHTXHVWHGWKDWLWVIDFWRUDWWKDWWLPH
     %LEE\)LQDQFLDO6HUYLFHV &$ ,QF ³%LEE\´ H[WHQGFUHGLWFRYHUDJHIRUD
     QXPEHURILQYRLFHVLWLVVXHGWR'HIHQGDQW'LJLWDO*DGJHWV//& ³'HIHQGDQW´ 
  ,QRUGHUIRU%LEE\WRH[WHQGFUHGLWFRYHUDJHIRUWKRVHLQYRLFHVWKH\ZRXOGEH
      DVVLJQHGDQGVROGWR%LEE\
  %LEE\ZRXOGWKHQDGYDQFHSD\PHQWRQWKRVHLQYRLFHVDQGWKHQVHHNSD\PHQWV
     GLUHFWO\IURPWKH'HIHQGDQW
  $VSDUWRIWKHSURFHVVWRGHWHUPLQHZKHWKHUWRH[WHQGFUHGLWFRYHUDJHWKH
      3ODLQWLIIZRXOGVXEPLWWR%LEE\WKHLQYRLFHVLWZLVKHGWRREWDLQFUHGLWFRYHUDJH
      RQZLWKDVWDPSVD\LQJWKDWWKHLQYRLFHVZHUHDVVLJQHGDQGVROGWR%LEE\
  7KDWZDVWKHUHDVRQZK\WKHLQYRLFHVLVVXHGWRWKH'HIHQGDQWWKDWZHUH
     DWWDFKHGDV([KLELWWR3ODLQWLII¶VPRWLRQSDSHUVZHUHVWDPSHGZLWKWKH
     VWDWHPHQWWKDWWKHLQYRLFHVZHUHDVVLJQHGDQGVROGWR%LEE\



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   7KRVHLQYRLFHVZHUHVXEPLWWHGWR%LEE\ZKLOHLWZDVVWLOOGHWHUPLQLQJZKHWKHU
       WRH[WHQGWKHUHTXHVWHGFUHGLWFRYHUDJH
   3ULRUWRH[WHQGLQJFRYHUDJH%LEE\QHHGHGWRUXQDFUHGLWFKHFNRQ'HIHQGDQW
  2QRUDERXW)HEUXDU\DIWHUPRQWKVRIUHIXVLQJWRSURYLGH%LEE\ZLWK
       WKHUHTXHVWHGILQDQFLDOLQIRUPDWLRQWKH'HIHQGDQWILQDOO\SURYLGHG%LEE\ZLWK
       VRPHOLPLWHGEDQNLQIRUPDWLRQ
  %DVHGRQLWVUHYLHZRIWKDWOLPLWHGLQIRUPDWLRQWKHUHTXHVWHGFUHGLWFRYHUDJH
      ZDVGHFOLQHGGXHWRLQVXIILFLHQWIXQGVRQWKHSDUWRIWKH'HIHQGDQW$WUXHDQG
       FRUUHFWFRS\RIWKHHPDLOIURP%LEE\UHIOHFWLQJWKHIRUHJRLQJGHFOLQHLV
      DWWDFKHGDQGLQFRUSRUDWHGKHUHWRDV([KLELW$³(XOHU´UHIOHFWHGLQWKHHPDLO
      VWRRGIRU(XOHU+HUPHVWKHLQVXUDQFHFRPSDQ\WKDWZRXOGKDYHLQVXUHGWKH
      LQYRLFHVLIDSSURYHG (see hightlighted)
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     %LEE\
 7KLVLQFOXGHVWKRVHLQYRLFHVWKDWZHUHDWWDFKHGDV([KLELWWR3ODLQWLII¶V
     PRWLRQSDSHUV
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 7KLVVHWWOHPHQWDJUHHPHQWVXSHUVHGHGDOOSUHYLRXVDJUHHPHQWVEHWZHHQWKH
     &DVK&DSLWDODQGWKH3ODLQWLIILQFOXGLQJZLWKRXWOLPLWDWLRQWKH³$JUHHPHQWRI
      WKH3XUFKDVHDQG6DOHRI)XWXUH5HFHLSW´WKDWZDVHQWHUHGLQWRLQRUDERXW
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     3ODLQWLII¶VFXVWRPHUV

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                                  EXHIBIT A
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 From : Ingrid Chen <ichen@bibbyusa.com>
Sent: Tuesday, February 14, 2017 1:51PM
To: Eric@interworks-usa.com
Cc: CHARUE@dig italgadgets.com
Subject: Digital Gadgets


HI Eric,

Just talked to Erika at Euler.

Based on the information she received, she won't be able to extend coverage on Digital Gadgets.

The bank information only shows $26K checking account. Euler is looking for a more solid information for $1M plus credit
coverage.



Charlie,

Can you share your financial to Euler? You do not need to share it with us, but Euler do need to get more stronger
information as the bank information what they are looking for. They need to know your profitability, liquidity, cash tlow,
Balance sheet and P &Lin order to make credit decision.



If you can provide the financial info please email it directly to Erika at Euler. They will keep it confidential and will not share
it to any other party.



Thank you




Ingrid Chen      I AVP,   Account Executive
Bib by Financial Services (California), In c.


Tel: + 1 8 05-413 -8119 I Fax: +1 805-267-41 51
Email: ichen@bibb'y'usa.com 1 Web: httP.://www.bibbv.usa.com
Address: 30 27 Townsgate Roa::l, Suite 140, Westlake Village, California 91361, United    S ~ates




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.;:+,Please consider the environment ... do not print this email unless you need to.
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